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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

ELIYAHU MIRLIS,

       Plaintiff,                                    Case No. 3:18-cv-02082 (MPS)
v.

SARAH GREER,

       Defendant.

            MOTION TO COMPEL COMPLIANCE WITH PLAINTIFF
           ELIYAHU MIRLIS’ FIRST SET OF INTERROGATORIES AND
        REQUESTS FOR PRODUCTION OF DOCUMENTS TO SARAH GREER

       Pursuant to Fed. R. Civ. P. 37(a) and Local R. Civ. P. 37, the plaintiff, Eliyahu Mirlis

(“Plaintiff”), hereby moves for an order (i) compelling the defendant, Sarah Greer (“Defendant”),

to respond to and produce documents, without objection, pursuant to Plaintiff Eliyahu Mirlis’ First

Set of Interrogatories and Requests for Production of Documents to Sarah and (ii) ordering

Defendant and/or her counsel to pay Plaintiff’s reasonable expenses in bringing this motion. The

grounds for this motion are fully set forth in the memorandum of law in support of this motion,

which is filed concurrently herewith.

       Dated at Bridgeport, Connecticut, this 5th day of August, 2019.

                                        THE PLAINTIFF,
                                        ELIYAHU MIRLIS


                                 By: /s/ John L. Cesaroni
                                     Matthew K. Beatman (ct08923)
                                     John L. Cesaroni (ct29309)
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                               CERTIFICATION OF SERVICE

       The undersigned hereby certifies that on August 5, 2019, copies of the Motion to Compel

Compliance with Plaintiff Eliyahu Mirlis’ First Set of Interrogatories and Requests for

Production was served upon all appearing parties with access to the CM/ECF System by

operation of the Court’s electronic notification system.

                                              /s/ John L. Cesaroni
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